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                                              UNITED STATES BANKRUPTCY COURT
                                                 SOUTHERN DISTRICT OF IOWA
                                                    DAVENPORT DIVISION


      In Re:                                                                          §
                                                                                      §
      Kennard P Kling                                                                 §           Case No. 18-02154
                                                                                      §
                                                    Debtor                            §

                                                   TRUSTEE’S FINAL REPORT (TFR)

                 The undersigned trustee hereby makes this Final Report and states as follows:

             1. A petition under chapter 7 of the United States Bankruptcy Code was filed on
       09/28/2018 . The undersigned trustee was appointed on 09/28/2018 .

                 2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

              3. All scheduled and known assets of the estate have been reduced to cash, released to
      the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
      pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
      disposition of all property of the estate is attached as Exhibit A.

                 4. The trustee realized gross receipts of                                             $               25,000.00

                                        Funds were disbursed in the following amounts:

                                        Payments made under an interim                                                          0.00
                                        disbursement
                                        Administrative expenses                                                                0.00
                                        Bank service fees                                                                     68.28
                                        Other payments to creditors                                                            0.00
                                        Non-estate funds paid to 3rd Parties                                                   0.00
                                        Exemptions paid to the debtor                                                          0.00
                                        Other payments to the debtor                                                           0.00
                                                                                  1
                                        Leaving a balance on hand of                                   $               24,931.72

       The remaining funds are available for distribution.
____________________
           1
              The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.
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             5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
      account.

             6. The deadline for filing non-governmental claims in this case was 04/18/2019 and the
      deadline for filing governmental claims was 03/27/2019 . All claims of each class which will
      receive a distribution have been examined and any objections to the allowance of claims have
      been resolved. If applicable, a claims analysis, explaining why payment on any claim is not
      being made, is attached as Exhibit C.

                 7. The Trustee’s proposed distribution is attached as Exhibit D.

             8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
      $ 3,250.00 . To the extent that additional interest is earned before case closing, the maximum
      compensation may increase.

             The trustee has received $ 0.00 as interim compensation and now requests a sum of
      $ 3,250.00 , for a total compensation of $ 3,250.00 2. In addition, the trustee received
      reimbursement for reasonable and necessary expenses in the amount of $ 0.00 , and now requests
      reimbursement for expenses of $ 71.80 , for total expenses of $ 71.80 2.

             Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
      foregoing report is true and correct.


      Date: 04/29/2019                                     By:/s/WESLEY B. HUISINGA
                                                               Trustee



      STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
      exemption 5 C.F.R. § 1320.4(a)(2) applies.




____________________
           2
            If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the
Trustee’s Proposed Distribution (Exhibit D).

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                                                                                      FORM 1
                                                                  INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                   ASSET CASES
                                                                                                                                                                                                    Exhibit A
Case No:             18-02154                       ALS           Judge:        Anita L Shodeen                              Trustee Name:                      WESLEY B. HUISINGA
Case Name:           Kennard P Kling                                                                                         Date Filed (f) or Converted (c):   09/28/2018 (f)
                                                                                                                             341(a) Meeting Date:               10/23/2018
For Period Ending:   04/29/2019                                                                                              Claims Bar Date:                   04/18/2019


                                  1                                            2                            3                             4                          5                             6

                         Asset Description                                   Petition/                Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                      Unscheduled            (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                                                                                                                                                                                  Case 18-02154-als7




                                                                             Values                Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                       Exemptions,                                                                               Assets
                                                                                                     and Other Costs)

  1. 2220 230Th St.                                                                230,300.00                   230,300.00                                                       0.00                           FA
     Washington Ia 52353-0000 Washington
                                                                                                                                                                                                                                  Doc 45




  2. 1294 Timber Ridge                                                             121,410.00                     4,410.00                                                3,874.00                              FA
     Sunrise Beach Mo 65079-0000 Camden
  3. 2011 Ford Super Duty Mileage: 167000                                           12,000.00                    12,000.00                                                       0.00                           FA
  4. 1999 Harley Electra Glide Mileage: 35,000                                       4,690.00                     4,690.00                                                       0.00                           FA
  5. 2003 Harley Fatboy Mileage: 6,000                                               5,430.00                     5,430.00                                                       0.00                           FA
                                                                                                                                                                                                             Document




  6. 2003 Pontiac Grand Prix Mileage: 90000 Spouse's Car                             3,500.00                     3,500.00                                                       0.00                           FA
     Location: 2220 - 230Th St., Washington Ia 52353
  7. 2012 Harley Triglide                                                           20,000.00                    11,090.00                                                9,725.00                              FA
  8. 2007 Playcraft Pontoon                                                          7,000.00                     7,000.00                                                6,139.00                              FA
  9. 2006 Lowe                                                                       6,000.00                     6,000.00                                                5,262.00                              FA
 10. Debtor Has One-Half Interest In Necessary Furnishings For                       3,500.00                         0.00                                                       0.00                           FA
                                                                                                                                                                                                                           Page 3 of 11




     Two Story Home; I.E., Beds, Tables, Lamps, Chairs, Etc.;
     Appliances, All Held For Family Use.
 11. Debtor Has One-Half Interest In Three Tvs Location: 2220 -                          150.00                       0.00                                                       0.00                           FA
     230Th St., Washington Ia 52353
 12. Golf Clubs Location: 2220 - 230Th St., Washington Ia 52353                          100.00                       0.00                                                       0.00                           FA
 13. Drum Set Location: 2220 - 230Th St., Washington Ia 52353                             75.00                       0.00                                                       0.00                           FA
 14. Ruger 9 Mm Location: 2220 - 230Th St., Washington Ia 52353                          250.00                       0.00                                                       0.00                           FA
 15. Beretta 12 Guage Location: 2220 - 230Th St., Washington Ia                          250.00                       0.00                                                       0.00                           FA
                                                                                                                                                                                                              Filed 05/06/19 Entered 05/06/19 13:01:01




     52353
 16. Remington .30-06 Location: 2220 - 230Th St., Washington Ia                          150.00                       0.00                                                       0.00                           FA
     52353
 17. Remington 870 12 Gauge Location: 2220 - 230Th St.,                                   50.00                       0.00                                                       0.00                           FA
     Washington Ia 52353
 18. Federation Bank                                                                     200.00                       0.00                                                       0.00                           FA
                                                                                                                                                                                                                                  Desc Main




 19. Federation Bank                                                                       0.00                       0.00                                                       0.00                           FA



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                                                                                             FORM 1
                                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                          ASSET CASES
                                                                                                                                                                                                         Exhibit A
Case No:                18-02154                         ALS            Judge:        Anita L Shodeen                             Trustee Name:                      WESLEY B. HUISINGA
Case Name:              Kennard P Kling                                                                                           Date Filed (f) or Converted (c):   09/28/2018 (f)
                                                                                                                                  341(a) Meeting Date:               10/23/2018
For Period Ending:      04/29/2019                                                                                                Claims Bar Date:                   04/18/2019


                                     1                                               2                             3                           4                          5                             6

                         Asset Description                                         Petition/                 Est Net Value             Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                            Unscheduled             (Value Determined by             Abandoned                  Received by                Administered (FA)/
                                                                                                                                                                                                                                       Case 18-02154-als7




                                                                                   Values                 Trustee, Less Liens,            OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                              Exemptions,                                                                             Assets
                                                                                                            and Other Costs)

 20. 2017 Tax Refunds Received And Spent                                                          0.00                     0.00                                                       0.00                           FA
     Federal And State
                                                                                                                                                                                                                                       Doc 45




 21. Commission - Seed Sale                                                                 7,500.00                       0.00                                                       0.00                           FA
 22. Life Insurance (? Company)                                                                   0.00                     0.00                                                       0.00                           FA
 23. Toyota Fork Lift                                                                       3,000.00                       0.00                                                       0.00                           FA
 24. Copy Machine                                                                                50.00                     0.00                                                       0.00                           FA
                                                                                                                                                                                                                  Document




 25. Tools Location: 2220 - 230Th St., Washington Ia 52353                                       75.00                     0.00                                                       0.00                           FA
 26. 2008 John Deere Gator Location: 2220 - 230Th St.,                                      4,950.00                       0.00                                                       0.00                           FA
     Washington Ia 52353
 27. 2007 Featherlite Trailer Location: 2220 - 230Th St.,                                   2,000.00                       0.00                                                       0.00                           FA
     Washington Ia 52353
INT. Post-Petition Interest Deposits (u)                                                   Unknown                          N/A                                                       0.00                  Unknown
                                                                                                                                                                                                                                Page 4 of 11




                                                                                                                                                                                   Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                      $432,630.00                $284,420.00                                               $25,000.00                        $0.00
                                                                                                                                                                                   (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:
                                                                                                                                                                                                                   Filed 05/06/19 Entered 05/06/19 13:01:01




  RE PROP #               2   --   sale approved per notice of sale filed 10/15/18 (docket 11)
  RE PROP #               7   --   sale approved per notice of sale filed 10/15/18 (docket 11)
  RE PROP #               8   --   sale approved per notice of sale filed 10/15/18 (docket 11)
  RE PROP #               9   --   sale approved per notice of sale filed 10/15/18 (docket 11)
                                                                                                                                                                                                                                       Desc Main




  Initial Projected Date of Final Report (TFR): 07/15/2019              Current Projected Date of Final Report (TFR): 05/10/2019


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                                                                                           FORM 2
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 18-02154                                                                                                 Trustee Name: WESLEY B. HUISINGA                                        Exhibit B
      Case Name: Kennard P Kling                                                                                               Bank Name: Associated Bank
                                                                                                                      Account Number/CD#: XXXXXX8473
                                                                                                                                             Checking
  Taxpayer ID No: XX-XXX5512                                                                               Blanket Bond (per case limit): $12,150.00
For Period Ending: 04/29/2019                                                                              Separate Bond (if applicable):


       1                2                              3                                              4                                                      5                   6                     7

Transaction Date    Check or                 Paid To / Received From                      Description of Transaction                 Uniform Tran.      Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                            Code                                                          ($)
                                                                                                                                                                                                                                   Case 18-02154-als7




   11/02/18                        Kennard P. Kling                          Purchase of items listed in sale                                               $25,000.00                                $25,000.00
                                   Washington, IA                            Notice filed 10/15/18
                                                                             Gross Receipts                             $25,000.00

                        2                                                    1294 Timber Ridge                           $3,874.00    1129-000
                                                                                                                                                                                                                                   Doc 45




                                                                             Sunrise Beach Mo 65079-0000
                                                                             Camden
                        7                                                    2012 Harley Triglide                        $9,725.00    1129-000

                        8                                                    2007 Playcraft Pontoon                      $6,139.00    1129-000
                                                                                                                                                                                                              Document




                        9                                                    2006 Lowe                                   $5,262.00    1129-000

   12/07/18                        Associated Bank                           Bank Service Fee under 11                                2600-000                                        $31.16          $24,968.84
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   01/08/19                        Associated Bank                           Bank Service Fee under 11                                2600-000                                        $37.12          $24,931.72
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   02/07/19                        Transfer to Acct # xxxxxx0107             Transfer of Funds                                        9999-000                                   $24,931.72                 $0.00
                                                                                                                                                                                                                            Page 5 of 11




                                                                                                                COLUMN TOTALS                               $25,000.00           $25,000.00
                                                                                                                      Less: Bank Transfers/CD's                   $0.00          $24,931.72
                                                                                                                Subtotal                                    $25,000.00                $68.28
                                                                                                                      Less: Payments to Debtors                   $0.00                $0.00
                                                                                                                                                                                                               Filed 05/06/19 Entered 05/06/19 13:01:01




                                                                                                                Net                                         $25,000.00                $68.28
                                                                                                                                                                                                                                   Desc Main




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                                                                                                                                                                                                   Page:                     2

                                                                                           FORM 2
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 18-02154                                                                                              Trustee Name: WESLEY B. HUISINGA                                          Exhibit B
      Case Name: Kennard P Kling                                                                                            Bank Name: Axos Bank
                                                                                                                   Account Number/CD#: XXXXXX0107
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX5512                                                                              Blanket Bond (per case limit): $12,150.00
For Period Ending: 04/29/2019                                                                             Separate Bond (if applicable):


       1                2                              3                                              4                                                    5                    6                     7

Transaction Date    Check or                 Paid To / Received From                     Description of Transaction              Uniform Tran.        Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                             ($)
                                                                                                                                                                                                                                  Case 18-02154-als7




   02/07/19                        Transfer from Acct # xxxxxx8473           Transfer of Funds                                     9999-000               $24,931.72                                 $24,931.72



                                                                                                             COLUMN TOTALS                                $24,931.72                  $0.00
                                                                                                                                                                                                                                  Doc 45




                                                                                                                   Less: Bank Transfers/CD's              $24,931.72                  $0.00
                                                                                                             Subtotal                                            $0.00                $0.00
                                                                                                                   Less: Payments to Debtors                    $0.00                 $0.00
                                                                                                             Net                                                 $0.00                $0.00
                                                                                                                                                                                                             Document      Page 6 of 11
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                                                                                                                                                         Page:                     3




                                                                                                                                                          Exhibit B
                                                                                    TOTAL OF ALL ACCOUNTS
                                                                                                                                     NET             ACCOUNT
                                                                                                  NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                          XXXXXX0107 - Checking                                              $0.00                  $0.00            $24,931.72
                                          XXXXXX8473 - Checking                                        $25,000.00                  $68.28                 $0.00
                                                                                                       $25,000.00                  $68.28            $24,931.72

                                                                                                 (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                         transfers)            to debtors)
                                                                                                                                                                                        Case 18-02154-als7




                                          Total Allocation Receipts:                    $0.00
                                          Total Net Deposits:                       $25,000.00
                                          Total Gross Receipts:                     $25,000.00
                                                                                                                                                                                        Doc 45
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                                                                          Exhibit C
                                                                ANALYSIS OF CLAIMS REGISTER
Case Number: 18-02154-ALS7                                                                                                     Date: April 29, 2019
Debtor Name: Kennard P Kling
Claims Bar Date: 4/18/2019


Code #     Creditor Name And Address          Claim Class        Notes                         Scheduled            Claimed               Allowed
           WESLEY B. HUISINGA                 Administrative                                       $0.00           $3,250.00             $3,250.00
100        115 THIRD STREET S.E., SUITE
2100       500
           CEDAR RAPIDS, IA 52406-2107


           WESLEY B. HUISINGA                 Administrative                                       $0.00              $71.80                $71.80
100        115 THIRD STREET S.E., SUITE
2200       500
           CEDAR RAPIDS, IA 52406-2107


1          Pfister Seeds, Llc                 Unsecured                                            $0.00        $767,150.51           $767,150.51
350        C/O Blitt And Gaines, P.C.
7200       2536 73Rd Street
           Des Moines, Ia 50322


2          Channel Bio                        Unsecured                                            $0.00      $1,089,573.62          $1,089,573.62
350        Monsanto Co
7200       Sharon Hernandez-B2nb
           800 N Lindbergh Blvd
           St Louis, Mo 63167

           Case Totals                                                                             $0.00      $1,860,045.93          $1,860,045.93
              Code#: Trustee’s Claim Number, Priority Code, Claim Type (UTC)




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                                          TRUSTEE’S PROPOSED DISTRIBUTION

                                                                                                         Exhibit D

     Case No.: 18-02154
     Case Name: Kennard P Kling
     Trustee Name: WESLEY B. HUISINGA
                         Balance on hand                                              $               24,931.72

               Claims of secured creditors will be paid as follows:


                                                             NONE


               Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                            Interim Payments Proposed
                         Reason/Applicant              Total Requested      to Date          Payment
       Trustee Fees: WESLEY B. HUISINGA               $         3,250.00 $                0.00 $         3,250.00
       Trustee Expenses: WESLEY B. HUISINGA $                         71.80 $             0.00 $             71.80
                 Total to be paid for chapter 7 administrative expenses               $                  3,321.80
                 Remaining Balance                                                    $               21,609.92


               Applications for prior chapter fees and administrative expenses have been filed as follows:


                                                             NONE


              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 0.00 must be paid in advance of any dividend to general (unsecured) creditors.

                 Allowed priority claims are:


                                                             NONE




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             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 0.00 have been allowed and will be
     paid pro rata only after all allowed administrative and priority claims have been paid in full. The timely
     allowed general (unsecured) dividend is anticipated to be 0.0 percent, plus interest (if applicable).

                 Timely allowed general (unsecured) claims are as follows:


                                                             NONE




             Tardily filed claims of general (unsecured) creditors totaling $ 1,856,724.13 have been allowed
     and will be paid pro rata only after all allowed administrative, priority and timely filed general
     (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated to be 1.2
     percent.

                 Tardily filed general (unsecured) claims are as follows:

                                                       Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                     of Claim             to Date          Payment
     1                    Pfister Seeds, Llc          $      767,150.51 $              0.00 $          8,928.66
     2                    Channel Bio                 $    1,089,573.62 $              0.00 $        12,681.26
                 Total to be paid to tardy general unsecured creditors                $               21,609.92
                 Remaining Balance                                                    $                     0.00




            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 0.00 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent.

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:




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                                                           NONE




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